
Salvatore J. Distefano, Appellant,
againstSpyros Golias, Respondent.




Barnes, Iaccarino, &amp; Shepherd, LLP (Michele Joy Harari of counsel), for appellant.
Btzalel Hirschhorn, Esq., for respondent.

Appeal from a judgment of the Civil Court of the City of New York, Queens County (Cheree A. Buggs, J.), entered October 19, 2015. The judgment, after a nonjury trial, dismissed plaintiff's cause of action and awarded defendant $5,000 on his counterclaim.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this small claims action to recover his security deposit in the sum of $2,250. Defendant counterclaimed for unpaid rent. After a nonjury trial, the Civil Court dismissed plaintiff's cause of action and awarded defendant $5,000 on his counterclaim.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (CCA 1807; see CCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125, 126 [2000]). The determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126).
Upon a review of the record, we find that the judgment provided the parties with substantial justice according to the rules and principles of substantive law (CCA 1804, 1807). Plaintiff conceded that the rent sought had not been paid and "failed to establish that the premises [*2]were not properly registered as a multiple dwelling when the rent was due" (Hunter v Hogans, 15 Misc 3d 139[A], 2007 NY Slip Op 50996[U], *2 [App Term, 2d Dept, 2d &amp; 11th Jud Dists 2007]).
Accordingly, the judgment is affirmed.
WESTON, J.P., ELLIOT and SIEGAL, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: July 13, 2018










